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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

JAMES LOWELL AND LINDA LOWELL,                   )
    Plaintiffs,                                  )
                                                 )
                                                 )
       v.                                        )   Case No. 3:22-cv-30022-KAR
                                                 )
                                                 )
UNITED STATES OF AMERICA,                        )
     Defendant.                                  )
                                                 )


  MEMORANDUM AND ORDER REGARDING DEFENDANT’S MOTIONS IN LIMINE
                          (Dkt. No. 47)

ROBERTSON, U.S.M.J.

       Defendant, the United States Postal Service (“USPS”), moves in limine to (1) bar

Plaintiffs’ expert from testifying that the USPS violated the Occupational Health & Safety Act’s

(“OSHA”) regulations and (2) exclude Plaintiffs’ evidence of those regulations.

       I.       Discussion

       Plaintiff James Lowell (“Lowell”) was employed by ATC Group Services, LLC, to

conduct asbestos testing and sampling when he fell from a board in the attic of the Marblehead

post office while he was climbing an interior ladder on his way to work on the roof. He alleges

that the USPS was negligent in failing to make the attic area safe and that he was injured because

of that negligence. USPS denies liability.

       USPS’s motions in limine seek exclusion of potential testimony from Plaintiffs’ expert,

Craig L. Moskowitz (“Moskowitz”), who conducted an investigation into the incident and issued

a report (Dkt. No. 49 at 11-24). The report describes OSHA’s general industry standards for

walking-working surfaces, 29 C.F.R. § 1910.22, and construction industry standards for hoist



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areas, 29 C.F.R. § 1926.501(b)(3), as well as OSHA’s multi-employer worksite policy.

Moskowitz opined that the OSHA regulations applied to the Marblehead post office because it

was a multi-employer worksite and that USPS violated the regulations.

       In Massachusetts, “[a] property owner ‘owes a common-law duty of reasonable care to all

persons lawfully on the premises.’” Soederberg v. Concord Greene Condo. Ass'n, 921 N.E.2d

1020, 1023 (Mass. App. Ct. 2010) (quoting O'Sullivan v. Shaw, 726 N.E.2d 951, 954 (Mass.

2000)). This duty extends to independent contractors as business invitees, see Johnson v.

Speedway, LLC, Civil Action No. 16-11810, 2017 WL 6625035, at *4 n.3 (D. Mass. Dec. 28,

2017) (citing Doherty v. Town of Belmont, 485 N.E.2d 183, 185 (Mass. 1985)) and “‘includes an

obligation to “maintain[] [the] property in a reasonably safe condition in view of all the

circumstances, including the likelihood of injury to others, the seriousness of the injury, and the

burden of avoiding the risk.”’” Soederberg, 921 N.E.2d at 1023 (first alteration in original)

(quoting O’Sullivan, 726 N.E.2d at 954).

       A. Defendant’s motion in limine to exclude Moskowitz’s opinion that USPS
          violated OSHA regulations.

       Defendant seeks to bar Moskowitz from testifying to an opinion that USPS violated the

OSHA regulations on the ground that permitting a witness to testify to a violation of law usurps

the function of the factfinder. Plaintiffs contend that experts commonly give opinions

concerning the applicable standard of care and whether a party breached that standard.

       Federal Rule of Evidence 702, which governs the testimony of expert witnesses,

provides:

       A witness who is qualified as an expert by knowledge, skill, experience, training,
       or education may testify in the form of an opinion or otherwise if: (a) the expert's
       scientific, technical, or other specialized knowledge will help the trier of fact to
       understand the evidence or to determine a fact in issue; (b) the testimony is based
       on sufficient facts or data; (c) the testimony is the product of reliable principles

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        and methods; and (d) the expert has reliably applied the principles and methods to
        the facts of the case.

Fed. R. Evid. 702.

        “In general, it can be within the district court's discretion to admit or exclude particular

expert testimony . . . .” Pelletier v. Main St. Textiles, LP, 470 F.3d 48, 55 (1st Cir. 2006) (citing

Univ. of R.I. v. A.W. Chesterton Co., 2 F.3d 1200, 1218 (1st Cir. 1993)). Generally, “‘[it] is not

for witnesses to instruct the [factfinder] as to applicable principles of law . . . .’” Nieves-

Villanueva v. Soto-Rivera, 133 F.3d 92, 99 (1st Cir. 1997) (first alteration in original) (quoting

United States v. Newman, 49 F.3d 1, 7 (1st Cir. 1995)). In the Pelletier case, the plaintiff argued

that the court improperly excluded testimony from his expert that certain OSHA regulations

applied to the defendant’s conduct. Pelletier, 470 F.3d at 54. The First Circuit held that the

“district court acted well within its discretion in excluding testimony about the applicability of

OSHA regulations to [the defendant]” id., because “the general rule is that it is the judge’s role,

not the witness’s, to instruct the [factfinder] on the law.” Id. (citing Nieves-Villanueva, 133 F.3d

at 99); see also generally Vicuna v. Draper Props., Inc., No. 20-P-831, 2021 WL 2774699, at *2

(Mass. App. Ct. July 2, 2021) (unpublished) (OSHA regulations were not applicable where the

judge properly decided that the plaintiff was not the defendant’s employee and did not perform

work on a construction site). For the reason stated in Pelletier and similar cases, Mr. Moskowitz

will not be permitted to testify concerning the applicability of OSHA regulations to the Post

Office’s conduct in this case.

        B. Defendant’s motion in limine to exclude evidence of OSHA regulations.

        The USPS further moves to exclude the OSHA regulations from evidence on the ground

that they are not relevant because the USPS was not Lowell’s employer and, even if it was, he

was not standing on what OSHA considered a “walking-working surface” at the time of the

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accident. For their part, Plaintiffs assert that the USPS owed James a duty to exercise reasonable

care and the OSHA regulations are relevant to the standard of care the USPS owed Lowell.

       Evidence of regulations regarding safety may be admissible to establish a standard of

care in negligence cases. See Pelletier, 470 F.3d at 54, 56. There appears to be no dispute that,

under Massachusetts law, the USPS owed Lowell, as a business invitee, a duty of care. Even if

the OSHA regulations did not apply to James because he was an independent contractor and was

not employed by the USPS, similarly situated plaintiffs in other jurisdictions have been permitted

to introduce OSHA regulations as evidence of whether a landowner complied with a standard of

care, even where that standard of care was not derived from OSHA regulations. See Menichini v.

Freehold Cartage, Inc., CIVIL ACTION NO. 3:22-CV-01532, 2024 WL 1356699, at *4-5, *7-8

(M.D. Pa. Mar. 29, 2024) (plaintiff, an independent contractor who was injured while working

on defendant’s property, could use OSHA regulations as evidence of a standard of care) (citing

Rolick v. Collins Pine Co., 975 F.2d 1009, 1014 (3d Cir. 1992)); Chilcutt v. Ford Motor Co., 662

F. Supp. 2d 967, 974 (S.D. Ohio 2009) (same). While alleged violations of the OSHA

regulations could not be relied on in Rolick or Chilcutt to establish a duty or breach of duty as a

matter of law because Pennsylvania and Ohio do not recognize negligence per se, the courts held

that the regulations were relevant after a duty of care had been established. See Menichini, 2024

WL 1356699, at *7-8 & n.7; Chilcutt, 662 F. Supp. 2d at 973-74. Thus, the plaintiffs were

required to show that the defendants owed them a duty as business invitees under state law as a

prerequisite to the consideration of the OSHA regulations as evidence of what actions were

required to meet the standard of care. Menichini, 2024 WL 1356699, at *7-8 & n.7 (evidence of

OSHA violations was admissible after plaintiff showed that defendant owed him a duty as a

business invitee under Pennsylvania law); Chilcutt, 662 F. Supp. 2d at 973-74 (plaintiffs could



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use the regulatory violations as evidence of a duty of care and/or breach of duty because, as a

business owner, the defendant owed the plaintiff a duty of care independent of the OSHA

regulations).

       Like Pennsylvania and Ohio, Massachusetts does not recognize negligence per se, see

Juliano v. Simpson, 962 N.E.2d 175, 179-80 (Mass. 2012), and a property owner’s duty to

business invitees is similar in the three states. Compare O’Sullivan, 726 N.E.2d at 954-55;

Ventor v. Marianne, Inc., 294 N.E.2d 870, 871-72 (Mass. App. Ct. 1973) (citing R ESTATEMENT

(SECOND) OF TORTS § 343 (AM. LAW INST. 1965)) with Menichini, 2024 WL 1356699, at *4-5

(citing RESTATEMENT (SECOND) OF TORTS § 343); Chilcutt, 662 F. Supp. 2d at 971-72.

Although Plaintiffs will have to put on relevant evidence at trial, there appears to be little dispute

that James was a business invitee to whom the USPS owed a duty of care under Massachusetts

law. See Johnson, 2017 WL 6625035, at *4 n.3. Assuming Plaintiffs’ evidence proves that the

USPS owed James a duty, see Jupin v. Kask, 849 N.E.2d 829, 834-35 (Mass. 2006), the

reasoning in Menichini and Chilcutt permits the court to consider the OSHA regulations as

evidence of the standard of care the USPS owed to James and whether the established duty was

breached. Consequently, Defendants’ Motion in Limine No. 2 is denied.

       II.      Conclusion

       For the reasons stated above, Defendant’s Motion in Limine No. 1 (Dkt. No. 47) is

ALLOWED and Motion in Limine No. 2 (Dkt. No. 47) is DENIED.

       It is so ordered.

Date: November 4, 2024                                 /s/ Katherine A. Robertson____
                                                       KATHERINE A. ROBERTSON
                                                       United States Magistrate Judge




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